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                                                                                  6 CHRIS PRINCIPE
                                                                                  7
                                                                                  8                           UNITED STATES DISTRICT COURT

                                                                                  9                         CENTRAL DISTRICT OF CALIFORNIA

                                                                                 10
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                                                                                 11 CHRIS PRINCIPE,                                ) Case No. 8:17-cv-00608 JLS (KESx)
                                                                                                                                   )
                                                                                 12                       Plaintiff,               )
                                                                                                                                   ) JOINT RULE 26(f) REPORT
                                                                                 13           v.                                   )
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                                                                                                                                   )
                                                                                 14 TIMOTHY GLEN CURRY A/K/A                       )
                                                                                    TIMOTHY TAYSHUN,                               )
                                                                                 15                                                )
                                                                                                 Defendant.                        )
                                                                                 16                                                )
                                                                                 17
                                                                                 18           On August 29, 2017, Howard A. Kroll of Tucker Ellis LLP, counsel of record for
                                                                                 19 Plaintiff Chris Principe (“Principe”), engaged in a telephone conference with Daniel
                                                                                 20 DeSoto of Law Office of Daniel A. De Soto, counsel for Defendant Timothy Glen Curry
                                                                                 21 (“Curry”), to conduct their Conference of Parties pursuant to Rule 26(f) of the Federal
                                                                                 22 Rules of Civil Procedure and the Court’s August 7, 2017 Order Setting Scheduling
                                                                                 23 Conference (“Order).
                                                                                 24           The parties submit this Joint Rule 26(f) Report addressing the items listed in Fed.
                                                                                 25 R. Civ. P. 26(f), and additional items listed at pages 2-5 of the Order.
                                                                                 26       A.     Statement of the Case
                                                                                 27           Principe is a consultant in transaction banking, finance and technology. Principe’s
                                                                                 28 career as a consultant also focuses on global trade using cryptocurrency and blockchain.


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                                                                                  1 Principe is also the owner and publisher of Financial IT, an online and print resource for
                                                                                  2 Financial Technology market analysis.
                                                                                  3               Curry has defamed and continues to defame Principe over the Internet and on
                                                                                  4 social media by falsely claiming, and without any evidence, that Principe has engaged in
                                                                                  5 criminal activity by being paid by, and working to support, a cryptocurrency named
                                                                                  6 OneCoin Ltd. For example, Curry admits Tweeting, “Chris Principe on #Onecoin #ponzi
                                                                                  7 payroll #PaidShill.” Curry also admits commenting on a blog entry that Principe “was
                                                                                  8 bribed handsomely to join” OneCoin.
                                                                                  9           Curry consistently refers to OneCoin as a Ponzi scheme and a criminal enterprise
                                                                                 10 in his Tweets and posts on the Internet. In many of Curry’s Tweets and posts, Curry has
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                                                                                 11 sought to destroy Principe’s consulting business and publishing business by sending
                                                                                 12 Tweets to Principe’s Twitter handle @cmpleo and Financial IT’s Twitter handle
                                                                                 13 @financialit_net to ensure that followers of Principe and Financial IT’s Twitter feeds
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                                                                                 14 would see Curry’s false and defamatory Tweets. Curry has also used a series of hashtags
                                                                                 15 in his Tweets to further more broadly disseminate his false statements. For instance,
                                                                                 16 Curry uses hashtags such as “#onecoin” and “#ponzi” to tie Curry’s defamatory Tweets
                                                                                 17 to other Tweets using the same hashtags.
                                                                                 18           Based on these false and unprivileged statements, Principe filed his Complaint for
                                                                                 19 defamation, including defamation per se, and tortious interference with contractual
                                                                                 20 relations.
                                                                                 21           Curry contends that his claims and assertions are true, and that Principe has been
                                                                                 22 promoting a fraudulent Ponzi scheme that has harmed people worldwide and is the
                                                                                 23 subject of criminal investigations worldwide. The statements are not only true, but
                                                                                 24 privileged and protected. Curry also contends that Principe is a public figure, with less
                                                                                 25 protections against defamation claims. Curry also contends that Principe suffered no
                                                                                 26 economic injuries as a result of Curry’s actions.
                                                                                 27           B.       Legal Issues
                                                                                 28                    1.    Were Curry’s statements false?


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                                                                                  1                 2.    Were Curry’s statements unprivileged?
                                                                                  2                 3.    Did Curry’s statements accuse Principe of a crime?
                                                                                  3                 4.    Did Curry’s statements falsely claim that Principe is associated or
                                                                                  4                       affiliated with a criminal enterprise?
                                                                                  5                 5.    Did Curry have any evidence to support his statements?
                                                                                  6                 6.    Were Curry’s statements defamatory?
                                                                                  7                 7.    Were Curry’s statements defamatory per se?
                                                                                  8                 8.    Did Curry know that his false statements would reach current or
                                                                                  9                       prospective clients of Principe?
                                                                                 10                 9.    Did Curry’s statements induce Principe’s clients to breach their
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                                                                                 11                       agreements with Principe?
                                                                                 12                 10.   Did Curry’s statements induce Principe’s prospective clients not to
                                                                                 13                       enter into any agreements with Principe?
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                                                                                 14                 11.   Did Curry intentionally interfere with Principe’s contractual
                                                                                 15                       relationships?
                                                                                 16                 12.   Did Curry intentionally interfere with Principe’s prospective
                                                                                 17                       economic relationships?
                                                                                 18                 13.   Is OneCoin a Ponzi scheme?
                                                                                 19                 14.   Is OneCoin a criminal enterprise under criminal investigations
                                                                                 20                       worldwide?
                                                                                 21                 15.   Did Prinicipe promote OneCoin?
                                                                                 22                 16.   Did Principe promote OneCoin knowing it was a Ponzi scheme?
                                                                                 23           C.    Damages
                                                                                 24           Principe has lost at least one client as a result of Curry’s Tweets and blog posts.
                                                                                 25 Principe will also need to spend money to repair his business reputation and correct the
                                                                                 26 misleading and false statements made by Curry.
                                                                                 27
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                                                                                  1           Unfortunately, Curry continues to defame and harass Principe over the Internet and
                                                                                  2 on social media. As such, the amount of damages to Principe’s reputation continues to
                                                                                  3 grow.
                                                                                  4           D.       Insurance
                                                                                  5           There is no insurance coverage.
                                                                                  6           E.       Motions
                                                                                  7           Based on responses to discovery, Principe may add other defendants that have
                                                                                  8 worked in conjunction with Curry to make false and defamatory statements about
                                                                                  9 Principe.
                                                                                 10           F.       Complexity
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                                                                                 11           Principe believes that this is not a complex case.         However, Curry believes
                                                                                 12 discovery will be lengthy, as it will require discovery and depositions outside the United
                                                                                 13 States.
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                                                                                 14           G.       Status of Discovery
                                                                                 15           Initial disclosures are set to be exchanged on October 13, 2017. The parties do not
                                                                                 16 feel that any other changes in the disclosures under Fed. R. Civ. P. 26(a) should be made.
                                                                                 17               To date, no discovery has been propounded by either party.
                                                                                 18           H.       Discovery Plan
                                                                                 19           Principe suggests a non-expert discovery cut-off date of April 13, 2018. Curry
                                                                                 20 suggests a non-expert discovery cut-off date of October 19, 2018.
                                                                                 21           Other than conducting and completing non-expert discovery before experts are
                                                                                 22 identified and deposed, the parties do not believe that discovery should be conducted in
                                                                                 23 phases or be limited to or focused on particular issues.
                                                                                 24           The parties agree that electronically stored information should be produced in its
                                                                                 25 native electronic format.
                                                                                 26           The parties do not believe that any changes should be made in the limitations on
                                                                                 27 discovery imposed under the Federal Rules of Civil Procedure or the Court’s Local
                                                                                 28 Rules, nor do the parties believe that other limitations should be imposed on discovery.

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                                                                                  1           The parties anticipate submitting a stipulated protective order with the Court.
                                                                                  2           I.    Expert Discovery
                                                                                  3           Principe suggests an initial expert witness disclosure and report deadline of
                                                                                  4 April 27, 2018, and a rebuttal expert witness disclosure and report of May 25, 2018.
                                                                                  5 Principe further suggests an expert discovery cut-off date of June 22, 2018.
                                                                                  6           Curry suggests an initial expert witness disclosure and report deadline of
                                                                                  7 October 26, 2018, and a rebuttal expert witness disclosure and report of November 23,
                                                                                  8 2018. Curry further suggests an expert discovery cut-off date of December 28, 2018.
                                                                                  9           J.    Dispositive Motions
                                                                                 10           At this time, the parties are not aware of any issue or claim that may be determined
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                                                                                 11 by motion for summary judgment or partial summary judgment.
                                                                                 12           K.    Alternative Dispute Resolution (“ADR”) Procedure Selection
                                                                                 13           The parties cannot agree on an ADR procedure. Principe suggests ADR Procedure
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                                                                                 14 No. 3 (private mediation), while Curry suggests ADR Procedure No. 2 (court mediation
                                                                                 15 panel).
                                                                                 16           L.    Settlement Efforts
                                                                                 17           Principe is reluctant to discuss settlement with Curry given Curry’s use of social
                                                                                 18 media to publish communications and/or meetings between counsel.
                                                                                 19           M.    Trial Estimate
                                                                                 20           The parties estimate this case being a 5 day jury trial.
                                                                                 21           N.    Trial Counsel
                                                                                 22           For plaintiff Chris Principe:    Howard A. Kroll
                                                                                 23           For defendant Timothy Glen Curry: Daniel A. DeSoto
                                                                                 24           O.    Independent Expert or Master
                                                                                 25           The parties agree that there is no need for a master or an independent scientific
                                                                                 26 expert to be appointed.
                                                                                 27
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                                                                                  1           P.    Other Issues
                                                                                  2           The parties are not aware of other issues affecting the status or management of the
                                                                                  3 case.
                                                                                  4
                                                                                  5 DATED: October 2, 2017                          Tucker Ellis LLP
                                                                                  6
                                                                                  7                                                 By:   /s/Howard A. Kroll
                                                                                  8                                                       Howard A. Kroll
                                                                                                                                          Attorneys for Plaintiff
                                                                                  9                                                       CHRIS PRINCIPE
                                                                                 10
                                                                                 11 DATED: October 2, 2017                          Law Office of Daniel A. De Soto
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                                                                                 12
                                                                                 13
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                                                                                                                                    By:   /s/Daniel A. De Soto*
                                                                                 14                                                       Daniel A. De Soto
                                                                                                                                           Attorneys for Defendant
                                                                                 15                                                        Timothy Glen Curry

                                                                                 16
                                                                                 17 *Pursuant to Local Rule 5-4.3.4(a)(2), the filing party attests that Defendant’s counsel
                                                                                 18 concurs in the content of this Joint Report and has authorized its filing with his electronic
                                                                                 19 signature.
                                                                                 20
                                                                                 21
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                                                                                 1                                                             EXHIBIT A
                                                                                 2                        PROPOSED SCHEDULE OF PRETRIAL AND TRIAL EXHIBITS

                                                                                 3 CASE NAME: Chris Principe v. Timothy Glen Curry aka Timothy Tayshun
                                                                                 4 CASE NO.: 8:17-cv-00608 JLS (KESx)
                                                                                 5
                                                                                                  Matter                       Deadline                    Plaintiff Request           Defendant Request
                                                                                 6       Last Day to File Motions     Scheduling Conference Date        December 12, 2017             December 12, 2017
                                                                                         to Add Parties and           plus 60 Days
                                                                                 7       Amend Pleadings

                                                                                 8       Fact Discovery               21 weeks before trial             April 13, 2018                October 19, 2018
                                                                                         Cut-Off
                                                                                 9
                                                                                         Last Day to Serve Initial    19 weeks before trial             April 27, 2018                October 26, 2018
                                                                                 10      Expert Reports
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                                                                                 11      Last Day to File Motions     19 weeks before trial1            April 27, 2018                October 26, 2018
                                                                                         (except Daubert and all
                                                                                 12      other Motions in Limine)

                                                                                 13      Last Day to Serve            15 weeks before trial             May 25, 2018                  November 23, 2018
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                                                                                         Rebuttal Expert Reports
                                                                                 14
                                                                                         Last Day to Conduct          12 weeks before trial             June 15, 2018                 December 14, 2018
                                                                                 15      Settlement Proceedings

                                                                                         Expert Discovery Cut-        11 weeks before trial             June 22, 2018                 December 28, 2018
                                                                                 16      Off
                                                                                 17      Last Day to File Daubert     Expert Discovery Cut-Off          June 29, 2018                 January 4, 2019
                                                                                         Motions                      Date plus 7 days
                                                                                 18
                                                                                         Last Day to File Motions     Final Pre-Trial Conference        August 7, 2018                January 29, 2019
                                                                                 19      in Limine (other than        Date less 28 days
                                                                                         Daubert Motions)
                                                                                 20
                                                                                         Final Pre-Trial              3 weeks before trial              Sept. 4, 2018                 February 26, 2019
                                                                                 21      Conference
                                                                                         (Friday at 1:30 p.m.)
                                                                                 22
                                                                                         Exhibit Conference           Friday before trial               Sept. 21, 2018                March 15, 2019
                                                                                 23      (Friday at 3:30 p.m.)

                                                                                 24      Trial: Jury or court                                           Sept. 25, 2018                March 19, 2019
                                                                                         (Tuesday at 9:00 a.m.)
                                                                                 25
                                                                                 26
                                                                                 27
                                                                                 28   1 Trials are set on Tuesdays, Motions are heard on Fridays. Therefore, the Court sets motions filing deadlines on the Friday
                                                                                      before the date specified in this column.

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